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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL
 Case No.        2:20-cv-07467-ODW (AFMx)                              Date    October 14, 2022
 Title           Shanghai Xuanni Technology Co., Ltd. v. City Pocket Los Angeles, Inc., et al


 Present: The Honorable          Otis D. Wright II, United States District Judge
                Sheila English                             Not reported                     N/A
                Deputy Clerk                       Court Reporter / Recorder              Tape No.
          Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                     Not present                                          Not present
 Proceedings (In Chambers):                   ORDER ON REQUEST FOR APPROVAL OF
                                              SUBSTITUTION OF ATTORNEY [98][99]

       On September 30, 2022, Defendant Morad Matian and Defendant Almont Wilshire LLC
each filed a Motion to Substitute Attorney and Removal of Previous Counsel of Record.
(Almont Mot., ECF No. 98; Matian Mot., ECF No. 99.) Almont seeks to substitute Attorney
Michael J. Callon in place of Almont’s now-disbarred Attorney Amid Bahadori. (See Almont
Mot.) Matian seeks to substitute himself pro se in place of Bahadori. (Matian Mot.)
Defendants were required to file formal noticed motions for this relief because former Attorney
Bahadori “is nowhere to be found” and thus unavailable to consent to a simple substitution.
(See Decl. Michael J. Callon ¶ 4, ECF No. 98.) The Court has carefully considered the papers
filed in connection with the motions and finds the matters appropriate for decision without oral
argument. Fed. R. Civ. P. 78; C.D. Cal. L.R. 7-15. Accordingly, the Court VACATES the
hearing on October 31, 2022.

      Defendants noticed the hearing on both motions for October 31, 2022, meaning any
opposition was due no later than October 7, 2022. See C.D. Cal. L.R. 7-9 (requiring any
opposition to be filed no later than twenty-one days before the designated hearing date); Fed. R.
Civ. P. 6(a)(1)(C) (computing time when the last day is a legal holiday). To date, the Court has
not received any opposition to Matian’s and Almont’s motions, from Plaintiff or any other
party. The Court deems this failure to timely oppose as “consent to the granting . . . of the
motion[s].” C.D. Cal. L.R. 7-12.



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       Accordingly, the Court hereby GRANTS the request of Defendant Almont to substitute
retained counsel Michael J. Callon (SBN238431), 6262 Van Nuys Blvd., Unit A, Van Nuys,
CA 91401, (818) 888-8333, legalexpresoffice@gmail.com, as attorney of record instead of
Amid Bahadori (SBN 242351-disbarred). (ECF No. 98.)

      Additionally, the Court GRANTS the request of Defendant Matian to substitute himself
pro se, Morad Matian, 137 S. Reeves Drive #405, Beverly Hills, CA 90212, (213) 675-4353,
moradmatian@gmail.com, as attorney of record instead of Amid Bahadori
(SBN242351-disbarred). (ECF No. 99.)

       The clerk shall terminate Notices of Electronic Filing for the withdrawing attorney, only
as to Defendants Almont and Matian, in this case.

         IT IS SO ORDERED.
                                                                              :   00
                                              Initials of Preparer   SE




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